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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HON. JENNIFER CHOE-GROVES, JUDGE



GUANGDONG HONGTEO
TECHNOLOGY CO., LTD.,
                    Plaintiff,
         v.                                                    Court No. 20-cv-03776

UNITED STATES,
                               Defendant.



                        PLAINTIFF’S COUNSEL’S STATUS REPORT

       Pursuant to the Court’s July 11, 2022, Order ECF No. 22, Rock Trade Law LLC, through

its undersigned legal counsel, respectfully submits this status report to notify the Court that

despite Rock Trade Law LLC’S best efforts, Plaintiff (Guangdong Hongteo Technology Co.,

Ltd.) has become uncooperative and has not responded to Rock Trade Law LLC by any means of

communication since May 29, 2022.

       Rock Trade Law LLC has been actively litigating case number 20-cv-03776 in the United

States Court of International Trade (CIT) on behalf of Plaintiff and has continued to apprise

Plaintiff of activity in the case. However, Rock Trade Law LLC has not received any response,

correspondence, or other communication from Plaintiff since May 29, 2022. Additionally, Rock

Trade Law LLC’s numerous efforts to contact Plaintiff over the last few months have been futile.

This has significantly jeopardized the litigation as Rock Trade Law LLC cannot represent

Plaintiff without its cooperation. Likewise, Rock Trade Law LLC has not received any inquiry or

other contact from any attorneys regarding actually or potentially replacing Rock Trade Law

LLC as legal counsel for the Plaintiff in this case in spite of the fact that Rock Trade Law LLC

has advised Plaintiff of the importance of retaining new legal counsel in order to continue
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prosecution of this case, including transmission to the Plaintiff of the Court’s Order of July 11,

2022, (ECF No. 22).

       The latest attempt on behalf of Rock Trade Law LLC to contact Plaintiff occurred on July

19, 2022, when Rock Trade Law LLC sent a letter to Plaintiff’s physical address in China via

DHL notifying Plaintiff about the potential case dismissal and requesting further guidance from

Plaintiff. See Exhibit A – Letter to Plaintiff indicating waybill number 1418594321. On July 25,

2022, DHL confirmed that the letter was received by Plaintiff and signed for by the primary

point of contact – Ms. Lee Li. See Exhibit B – delivery and signature confirmation indicating

waybill number 1418594321. Despite having accepted delivery of the letter, Plaintiff has not

responded and/or otherwise communicated its intentions as to case number 20-cv-03776 to Rock

Trade Law LLC.

       In light of this, Rock Trade Law LLC is prepared to file its second motion moving for an

order withdrawing the firm’s appearances as counsel for Guangdong Hongteo Technology Co.,

Ltd., in this action. Rock Trade Law LLC will communicate with Edward F. Kenny, counsel for

Defendant, in an attempt to obtain Defendant’s consent to file the motion. Additionally, if deemed

necessary by the Court, Rock Trade Law LLC is available to confer with the Court and Defendant

to discuss any additional information pertaining to this action that might be useful to the Court.




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                                          Respectfully submitted,




Dated:    August 10, 2022                 ______________________________
                                          Serhiy Kiyasov, Attorney

                                          Rock Trade Law LLC
                                          134 North LaSalle Street, Suite 1800
                                          Chicago, Illinois 60602
                                          312-824-6195 (telephone)
                                          skiyasov@rocktradelaw.com (e-mail)

                               Counsel for Guangdong Hongteo Technology Co., LTD.




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        Exhibit A
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                                                                              ROCK
                                                                              ROCK TRADE LAW LLC
                                                                              134 N. LaSalle St. Suite 1800
                                                                              Chicago, IL 60602
                                                                              (312) 824-6190 (main)
                                                                              (312) 824-6195 (direct)

                                                                              Lawrence Pilon
                                                                              lpilon@rocktradelaw.com
                                                                              Serhiy Kiyasov
                                                                              skiyasov@rocktradelaw.com




Via DHL – Return Receipt and Signature Requested
# 14 1859 4321

Guangdong Hongteo Technology Co., Ltd.
No. 10, North Section, Xincheng Area
Dinghu District, Zhaoqing City
Guangdong, China

Attn.: Lee Li; Jay Chen.

July 19, 2022

Re.: U.S. CIT Litigation 20-cv-03776 Final Notice – Potential Case Dismissal

Lee and Jay:

PLEASE LET US KNOW IMMEDIATELY: Does Guangdong Hongteo plan on having new
lawyers take over the Court of International Trade tariff classification case 20-cv-03776, or is it
acceptable that the court dismisses the case? A summary follows.

        Our firm has been actively litigating case # 20-cv-03776 in the United States Court of
International Trade (CIT) on your behalf. However, we have not received any correspondence or
other communication from you since May 29, 2022. Additionally, our numerous efforts to contact
you over the last few months have been futile. This significantly jeopardized the litigation as we
cannot represent you without your cooperation.

         Please be advised that on June 8, 2022, we filed two motions with the CIT. Copies of both
motions are enclosed. The enclosed motion titled “CONSENT MOTION FOR WITHDRAWAL
OF ATTORNEYS” is our motion requesting that we be allowed to withdraw from representing
Guangdong Hongteo in this case. As you will see when you review our motion, we have asked the
court to allow Guangdong Hongteo 30 days from the date of the judge’s final order to find new
legal counsel. Please note that the Court Order on the first page of that motion is a draft order, not
a final order. It has not been signed by the judge. The other enclosed motion titled “PLAINTIFF’S
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CONSENT MOTION TO AMEND THE SCHEDULING ORDER” is our motion asking that the
judge extend the deadlines in the case schedule so that Guangdong Hongteo will have time to
obtain new legal counsel. On June 8, 2022, we notified you of both filings via email. See enclosed
email titled “Motions filed today in U.S. Court of International Trade Case 20-03776.”

        Additionally, enclosed are the government’s first discovery requests titled
“DEFENDANT'S FIRST INTERROGATORIES DIRECTED TO PLAINTIFF” and
“DEFENDANT’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND THINGS
TO PLAINTIFF.” On June 8, 2022, we notified you of both requests via email. See enclosed email
titled “Guangdong Court No. 20-cv-03776.” All upcoming deadlines, in this case, are outlined in
the enclosed “SCHEDULING ORDER.” Note that due to your lack of communication we were
not able to serve the first interrogatories and document requests on the government.

       Finally, on July 11, 2022, the judge ruled on the motions that we filed asking for permission
to withdraw as attorneys for Guangdong Hongteo. A copy of the court’s order titled “OPINION
AND ORDER” is enclosed. As you will see, the judge ordered four things:

       •      Our motion to withdraw has been denied for now, but the denial is “without
       prejudice,” meaning that we can refile the motion at a later date;

       •    Guangdong Hongteo has 30 days from July 11, 2022, in other words by
       Wednesday, August 11, 2022, to notify the court of its new attorneys;

       •      The motion that we also filed on June 8, 2022, to amend the scheduling order (to
       give Guangdong Hongteo some additional time) has also been denied, but

       •      The remaining deadlines in the scheduling order are stayed (stopped) for now until
       the court issues a new order.

Note that the court says on the third page that “the Court is likely to dismiss Plaintiff’s case if
Plaintiff fails to hire new counsel or resolve its issues with current counsel.” This means that
if Guangdong Hongteo does not take proper action by Wednesday, August 11, 2022, the case
will most likely be dismissed by the judge, and Guangdong Hongteo will lose the opportunity
to obtain any further refund on any entries subject to the litigation.

PLEASE LET US KNOW IMMEDIATELY: Does Guangdong Hongteo plan on having new
lawyers take over this Court of International Trade tariff classification case 20-cv-03776, or is it
acceptable that the court dismisses the case?




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                      LIST OF THE ENCLOSED DOCUMENTS

1.   CONSENT MOTION FOR WITHDRAWAL OF ATTORNEYS
2.   PLAINTIFF’S CONSENT MOTION TO AMEND THE SCHEDULING ORDER
3.   June 8, 2022 email titled “Motions filed today in U.S. Court of International Trade Case
     20-03776.”
4.   DEFENDANT’S FIRST INTERROGATORIES DIRECTED TO PLAINTIFF
5.   DEFENDANT’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND
     THINGS TO PLAINTIFF
6.   June 8, 2022 email titled “Guangdong Court No. 20-cv-03776.”
7.   SCHEDULING ORDER
8.   OPINION AND ORDER




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        Exhibit B
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25 July 2022
Dear Customer,
This is a proof of delivery / statement of final status for the shipment with waybill number 1418594321.
Thank you for choosing DHL Express.
www.dhl.com


 Your shipment 1418594321 was delivered on 25 July 2022 at 18.30

 Signed                 MS LEE LI                              Destination Service Area        GUANGZHOU
                                                                                               CHINA, PEOPLES
                                                                                               REPUBLIC

 Signature                                                     Shipment Status                 Delivered




                                                               Piece ID(s)                     JD014600010193703927



 Additional Shipment Details
 Service                EXPRESS ENVELOPE                       Origin Service Area             FRANKLIN PARK
                                                                                               UNITED STATES OF AMERICA
 Picked Up              19 July 2022 at 16.57
                                                               Shipper Reference               1418594321US20220719155333686
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                  CERTIFICATE OF SERVICE BY ELECTRONIC MAIL

         I, Serhiy Kiyasov, one of the attorneys for the plaintiff, certify that a copy of the

annexed Plaintiff’s Counsel’s Status Report was served on all parties by sending a copy via

electronic mail, this Wednesday, August 10, 2022, addressed to each party or its attorney of

record at the address(es) listed below.

 Edward Francis Kenny
 U.S. Department of Justice           Guangdong Hongteo Technology Co., Ltd.
 Commercial Litigation Branch - Civil ATTENTION
 Division                             Email: lee.li@hongteo.com.cn;
 LEAD ATTORNEY                        Email: jay.chen@hongteo.com.cn
 Email: edward.kenny@usdoj.gov


                                                      Respectfully submitted,




Dated:      August 10, 2022                           ______________________________
                                                      Serhiy Kiyasov, Attorney

                                                      Rock Trade Law LLC
                                                      134 North LaSalle Street, Suite 1800
                                                      Chicago, Illinois 60602
                                                      312-824-6195 (telephone)
                                                      skiyasov@rocktradelaw.com (e-mail)

                                        Counsel for Guangdong Hongteo Technology Co., LTD.
